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                                                             March 30, 2021

VIA ECF
The Honorable William H. Pauley III
United States District Judge
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, NY 10007

         Re:     United States v. Bryan Cohen, 19 Cr. 741 (WHP)

Dear Judge Pauley:

       We are writing to inform the Court that Mr. Cohen has now completed the 1,500 hours of
community service required as part of his sentence. As your Honor indicated, “[t]his Court expects
that Cohen will---in accord with the Judgment of Conviction---complete his 1500 hours of
community service and then depart the United States.” (Dkt. 61)

         Mr. Cohen is now seeking permission from this Court to depart the United States.1

       Since Mr. Cohen was directed by his Probation Officer to attend the Edward Myrick State
Farmers Market, he worked there on a full-time basis helping the community and making a positive
impact to the people around him.2



1
 Should the Court be satisfied that Mr. Cohen depart the United States, we also seek that his
passport be released by the Probation Office of the Southern District of Florida in order for him to
be able to travel back to France.
2
    See attached letters from supervisor and colleague at the Edward Myrick State Farmers Market.
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        Additionally, Mr. Cohen has paid all fines, forfeiture and special assessments due in this
case.

        As your Honor knows, Mr. Cohen lacks immigration status in the United States which
reinforces our respectful application for him to be allowed to arrange a one-way ticket to France,
as ordered by this Court.

        Should the Court have any questions, we stand ready to assist.


                                                            Respectfully submitted,



                                                            Benjamin Brafman

cc:     All Counsel (via ECF)
        U.S. Probation Officer Garry L. Hackett
